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THE ALTMAN LAW GROUP` __
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Partners, lnc.
'_ UNITEI) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
KAHN CR]_sArI\/E PAR_TNERS, ' case No. §§ § m § § §§ § 2 ~DSF[/~
INC., an Illinois corporation, _ . _.. '
1 ; ' COMPLAINT FOR: _
Plarntiff, 1. BREACH OF ORAL -CONTRACT;
Vs. ' 2. BREACH OF ORAL _
1 . _ _ - PARTNERSHIP
NTH DEGREE, INC. aka BEYOND _ AGREEMENT;. ..
THE NTH DEGREE, INC., a 3. BREACH OF IMPLIED
Delaware corporation; and DOES 1 PARTNERSHIP; 1
through 10, lnclusive, . - 4. BREAC'H OF ORAL JOINT
7 -` VENTURE AGREEMENT; ..
Defendants. 5. BREACH ()F IMPLIED JOINT-
VENTURE-
6. PRoMISsoRY Es'roPPEL; , '
7. BR_EACH OF FIDUCIARY D_U'I_`Y; _ ‘
- 8. BREACH OF THE COVENANT.
` OF GOOD FAITH AND FAIR
DEALING;

9. UNJUST`ENRICHMENT;`
10. UNFA_IR BUSINESS _PRACTICES

JURY TRIAL DEMANDED
Comes now Plaintiff Kahn Creative Partners, Inc. (“KCP”), an Illinois
corporation, Which alleges as follow`s:
JURISDICTION AN}) VENUE

1. The Court has jurisdiction over this action pursuant to diversity of

citizenship, 28 U.S'.C. § 1332. .Venue is proper Within this district because many of `

the actions and transactions complained of in this action substantially occurred in or _

emanated from this district

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2. Plaintiff Kahn Creative Partnei's__, Inc. _(“KCP’-") is, and at all times
mentioned herein Was, a corporation duly organized and existing under the laws of
the State of Ilhno1s duly qualified to conduct business 111 the State of Cal_ifornia, and
_ doing business 1n Los Angeles County. 7 '

3. Plaintiff ls informed and believes, and based thereon alleges, that at all
times mentioned herein Defen_dant Nth Degree, Inc. ,aka Beyon_d the Nth Degree,
lnc (“Nth Degree”) is, and at all times mentioned herein Was, a corporation duly
organized and existing under the laws of the State ofDelaWare, With its principal
place of business 111 the State of Georgia, duly qualified to conduct business in the
State of California, and doing business 1n Los Angeles County.

4. Plaintiff is ignorant of the true names and capacities, Whether corporate,
individual, partnership, associate or otherwise, of Defendants sued herein as
fictitious Does l through 1'0, inclusive and therefore sues these Defendants by such
fictitious names. Plaintiff Will amend this Complaint to allege their true names and
capacities When ascertained

5. Plaintiff is informed and believes, and based thereon alleges, that each
of the fictitiously named Defendants 1s indebted to Plaintiff as hereinafter alleged,
and that Plaintiff's rights against such fictitiously named Defendants arises from
such indebtedness l

6. Plaintiff is informed and believes, and on such information and belief
alieges, that at all times herein mentioned, each of the Defendants Was the agent and
employee of each of their Co-Defendants and, in doing the things herein mentioned,
Was acting Within the scope of their authority as such agents and/employees and With
the permission and consent of their Co-Def'endants. ._

7 7. rIthh Degree is in fact a corporation, such corporation is in mere form
only, has no existence separate and apart from Defendants Does 6 through 10,
inclusive, that there exists and at all times mentioned herein existed a unity of

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interest and ownership between Defendants Does l through '10, inclusive, and Nth
Degree such that any individuality and separateness between Defendants Does 1
through 10 inclusive, and Nth Degree has ceased, and Nth Degree 1s the alter ego of
Defendants Doe`s 1 through 10, inclusive '

8. The assets and the properties of- Nth Degree are commingled with the
separate assets of Defendants Does l through 10, inclusive, such that there is no
distinction between individual and corporate assets -

9. _ Adherence to the fiction of the separate existence of Nth Degree as an
entity distinct from Defendants Does l through 10, inclusive, would permit an abuse
of the corporate privilege and would permit injustice in that they would succeed in
avoiding legally incurred liabilities while maintaining the benefits of the
corporation. 7

10.1 Nth Degree and Does l through 10, inclusive, are hereinafter jointly
and severally referred to as “Nth Degree.” _

FACTS COMMON= TO ALL CAUS_ES OF A_CTION

1 1. RSA Security, _Inc.,.a Delaware corporation (“RSA”) is the sponsor of

RSA Conference (the “Conference”), an industry conference for information

' technology security professionals with annual trade conferences in the U.S., Europe
and Japan that attract in excess of 18,000 attendees per conference Defendant Nth
Degree has managed the annual Conference since 2003 .`

12. In June 2008, Nth Degree’s employee Robert Lowe (“Lowe”)
approached a representative of KCP, Sharon Weber (“Weber”) with the purpose of
having KCP enter into a dialogue about forging 'a strategic partnership with Nth
Degree concerning its dealings with RSA and the Conference.

13. 7 On August 6:,~2008, representatives from Nth Degree and KCP met in
Las Vegas to discuss Nth:Degree’s strategic partnership idea.

14. Following the meeting, on A_ugust'?, 2008 at 6:25 pm, Mr. L_owe wrote
to KCP, specifically to Weber, Dean Hills (“Hills”), Bill Kahn (“Kahn”) and Mil<e

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Trovalli (“Trovalii”) stating “thanks for taking the time to meet with us in(`Vegas -
yesterday. i felt it was a productive step towards a promising partnership.’i _

15. Mr. Lowe followed up with an email on October 7, 2008, stating “I 1

_ would really like to sync back up with you all to discuss your thoughts since that
meeting 111 Vegas, new information I have received from Sandra [LaPedis, an
employee of RSA] and any basic feelings you have about the situation.” g

16. `KCP and l\lth Degree scheduled a meeting on December 4, 2008 to
further discuss creating a proposal to jointly manage the 2010 RSA Conference (the

_“Joint Proposal”). _

7 17. Prior to the December 4-, 2008 meeting, Mr. Kahn expressed to KCP’s
staff, “[w]e all want to be judicious with how we apply our time and resources to biz
dev and we all want to drive revenue for the whole enterprise Sandra’s interest in
tech communications channels surrounding the event is a connect for you. Mike’s
conference management experience outside the GS provides much more than what
Bruce Porter provides We will position both talents combined with Sharon’s 1
creative talent as a value to both Rob and RSA.”_

18. O`n December 4, 2008, Weber of KCP met Nth Degree’s employees 7
Lowe, Bruce Porter (“Porter”), Jeanne Friedman (L‘Friedman”) and Karen'
Gruntmeyer (“Gruntrneyer”) im Marina Del Rey, California to discuss creating a ~
Joint Proposal with Nth Degree to manage the next Conference.

19. Duringthe meeting, RSA’s employees expressed that Nth Degree’s
biggest need was to stay`relevant with thechanging demographics of the
Conference’ s target market and the evolution`s 1n the design, strategy and execution
of the Conference. The Nth Degree employees wanted to assemble a team with g
creative, strategic, digital and global capabilities 1n addition to those of Nth Degree
The Nth Degree employees requested that KCP work jointly with Nth Degree to
apply KCP’s digital and multi~ch`annel marketing abilities to develop a ten year
vision for inture Conferences because Nth Degree needed a broader range of

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capabilities than Nth Degree could offer i_'n theareas of strategy, creativity, audience
acquisition and technology - , _ 7 -

7 20. During the meeting Nth Degree and KCP entered into an oral agreement
(the “Agreement”) under Which Nth Degree and KCP would work together to `
prepare a Jo1ntProposal to manage the 2010 RSA Conference

21. Under the terms of the Agreement Nth Degree and KCP each expressly
agreed that they would have a joint community of interest in the Joint Proposal that

would constitute a common business undertaking in which they would share profits

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and losses and have a joint right of control._ ,

22. Plaintiff is informed and believes and based thereon alleges that Lowe,

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Friedman and Gruntmeyer had both actual and ostensible authority to enter into the

;_.\
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Joint Venture Agreement on the part othh Degree.

23. On Thursday January 22, 2009, Nth Degree and KCP received RSA’s
Request for Proposal (“RFP”).'

24. Over the course of the next three months the staff at KCP and Nth

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Degree worked together tirelessly to prepare a proposal under which they would

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jointly manage the 2010 conference KCPis staff spent hundreds of man hours and

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expended thousands of dollars to produce the proposal to RSA.V
7 25. On May 8, 2009 Nth Degree and KCP submitted their Joint Proposal to
EMC, which, in accordance of the terms of the RFP, constituted an offer for KCP

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and Nth Degree to jointly manage the 2010 Conference. The Joint Proposal

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consisted of eight parts, entitled RSA Conference RFP Response, RS'A Conference
Marketing RFI Response, RSA Conference 2010 Strategic Blueprint, RSA
Conference "Vision" _ibook, RSA Conference "Brand" ibook, RSA Conference

"Audience" ibook, RSA Conference "Bios'l ibo'ok, _RSA_Conferen_ce Standup

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Presentation: Strategic -Overview

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26. Plaintiff ls informed and believes, and based thereon alleges Nth

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Degree’ s Board of Directors Ch1ef Execunve Officer_, Secretary and ChiefFinancial

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7R8A Conference response I honestly feel it is the best A to Z response l have ever

 

O_fficer ratified the terms of the Agreenient by submitting the Joint Proposal to RSA.
27. On May 11, 2009, Lowe wrote, “I just wanted to send a note out to the
team and say THANK YOU for all your amazing work does while preparing the '

had the opportunity to participate within. Not only is the strategy, thinking and
attention to detail second to none, but the design, layout and presentation is
absolutely stunning. Every person should be proud of this response and l can only
imagine the positive reaction it has received from the entire RSA Conference client.” _

28. 7 On May 26, 2009, KCP’s staff conducted a “strategic showcase”
presentation with live attendees and international video conference attendees to RSA
in which they introduced and highlighted new ideas for the European Conference.

29. On lurie 16, 2009, RSA advised KCP that RSA had not awarded KCP a
contract to work on the 2010 Conference.

30. On June 26 ,,2009 KCP learned, by reading a news bulletin posted on
the website of Exhibitor News Network, that RSA had awarded the contract for the
2010 Conference solely to Nth Degree

31. Defendant Nth Degree essentially “hijacked” KCP’s ideas, work
presentation and ‘fsweat equity” in the Joint Proposal to obtain the contract to
manage the Conference and provided KCP with nothing in return.

FIRST CAusE oF ACTIoN
BREACI~I. OF ORAL CONTRA_CT
(Against Nth Degree)

32. Plaintiff re- alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein

33. On or about December 4, 2008, KCP and Nth Degree entered into an
oral Agreement to prepare a Joint Proposal to jointly manage the 2010 RSA
Conference.

34. Plaintiffs performed all conditions, covenants, and promises required on

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their part to be performed in accordance with the terms of the Agreement, except for
those conditions, covenants and promises which were excused by the Defendants
and/or conditions, covenants and promises which Plaintiffs were prevented from
performing by the acts or omissions to act on the part of the Defendants n

35. On or about June 26, 2008, Nth Degree breached and repudiated the
Agreement by entering into a contract with RSA to manage the 2010 Conference
without KCP’ s participation, by disavowing the existence of the Agreement; by
terminating, or attempting to terminate,- without cause, KCP’ s rights under the `
Agreement, by misappropriating KCP’s intellectual property, its ideas and its
creative talent, and by failing to account to KCP for profits

- 36. KCP has been damaged by the Nth Degree Defe_ndants? breach of
contract in an amount according to proof, but not less than $2,000,000.00.
sECoND CAUs`E oF ACTIoN
BREACH OF ORAL PARTNERSHIP AGREEMENT
(Again_st Nth Degree)

37. Plaintiffre~alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein.

38. Plaintiff is informed and believes and based thereon alleges that on or
about December¢l, 2008, KCP and the Nth Degree Defendants entered into an oral
Agreement to form a partnership to produce a Joint Proposal in order to secure the
contract to jointly manage the 2010 RSA Conference and to split any profits derived
therefrom Under the terms of the Agreement, KCP and Nth Degree each had
ownership rights in the partnership and the right to participate in its management

39. Plaintiff is informed and believes and based thereon alleges that KCP
and Nth Degree participated in the management of the partnership by paying a
portion of the partnership s expenses, assigning duties to partnership personnel,
providing time, skill and expertise and monitoring the partnership’s performance

_40. Plaintiff performed all conditions, covenants, and promises required on

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about December 4,_ 2008, the Nth Degree Defendants began to engage in a series of

_ had ownership rights 1n the implied partnership and the right to participate 111 its

 

its part to be performed in accordance with the terms of the Agreement_, except for
those conditions, covenants, and promises which were excused by the Defendants
and/or conditions, covenants, and promises which Plaintiffs were prevented from

performing by the acts or omissions to act on the part of the Defen`d_ants.

41. On or about June 26, 2_008, the Nth Degree Defendants, and each of "
them, breached and repudiated the partnership by entering into a contract with RSA
to manage the 2010 Conference without KCP’s participation, by disavowing the 1
existence of the partnership, by terminating, or attempting to terminate, without
cause, KCP-’s rights under the partnership, by misappropriating KCP’s intellectual 7
property, its ideas and its creative taient, and by failing to account to KCP for profits
due. l v . j .

42. KCP has been damaged by the Nth Degree Defendants’ breach of
partnership agreement in an amount according to proof, but not less than
$2,000,000.00.

THIRD_ CAUSn or ACTIoN_ '
'_ BREACH OF IMPLIEI) PARTNERSHIP
- (Against Nth Degree)
' 43-. ' Plaintiff re-alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein.

44. Plaintiff is informed and believes and based thereon alleges that on or

acts and conduct that implied it had entered into a partnership with KCP to produce
a Joint Proposal in order to secure the contract to jointly manage the 2010 RSA

Conference and to split any profits derived-therefrom KCP and Nth Degree each

management

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45. Plaintiff ls informed and believes and based thereon alleges that KCP
and Nth Degree participated 1n the management of the implied partnership by paying

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a portion of the implied partnership s expenses, assigning duties to partnership
personnel, providing time, skill and expertise and monitoring the partnership s
performance 7 v

46. Plaintiff performed all conditions, covenants, and promises required on
its part to be performed in accordance with the terms of the Agreement, except for '
those conditions, covenants, and promises which were excused by the Defendants
and/or conditions covenants, and promise 1 which Plaintiffs were prevented from
performing by the acts or omissions to act on the part of the Defendants. 7

47. On or about June 26, 2008, the Nth Degree Defendants, and each of_
them, breached and repudiated the implied partnership by entering into a contract
with RSA to manage the 2010= Conference without KCP’s participation, by
disavowing the existence of the partnership; by terminating, or attempting to
terminate, without cause, KCP’s rights under the partnership, by misappropriating

KCP’s intellectual property, its ideas and its creative talent, and by failing to account

to KCP for profits due.

48. KCP has been damaged by the Nth Degree Defendants’ breach of
partnership agreement in an amount according to proof, but not less than l
$2, 000, 000. 00.

FOURTH CAUSE OF ACTION
BREACH oF .oRAL JoINr vEN'rURs AGREEMENT
(Against Nth Degree)
- 49. . Plamt1ff re -alleges and mcorporates by reference each and every

allegation m the previous paragraphs as though fully set forth herein

50. Plaintiff1s informed and believes and based thereon alleges that on or
about December 4, 2008, KCP and the Nth Degree Defendants entered into an oral

Agreement to form a joint venture to produce a Joint Proposal 111 order to secure the

n contract to jointly manage the 2010 RSA Conference and to split any profits derived

therefrom Under the terms of the Agreement, KCP and Nth Degree each had

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l ownership rights in the joint venture and the right to participate in its management

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7 51. Plaintiff is informed and believes and based thereon alleges that KCP

7 `3 and Nth Degree participated in the management of the joint venture by paying a

' 4 portion of the joint venture’s expenses, assigning duties to joint venture personnel,

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providing time, skill and expertise and monitoring the joint venture’s performance

52. Plaintiff performed all conditions, covenants, and promises required on
its part to be performed rn accordance with the terms of the Agre_,ernent except for
those conditions, covenants, and promises which were excused by the Defendants
and/or c_onditions,_ covenants, and promises which Plaintiffs were prevented from
performing by the acts or omissions to act on the part of the Defendants

53. On or about June 26, :2008, the Nth Degree Defendants, and each of
them, breached and repudiated the joint venture by entering into a contract with RSA
to manage the 2010 Conference without KCP’s participation, by disavowing the
existence of the joint venture; by terminating, or attempting to terminate without
cause, KCP’s rights under the joint venture, by misappropriating KCP’s intellectual
property, its ideas and its creative talent, and by failing to account to KCP for profits
due. 7 _
' 54. KCP has been damaged by the Nth Degree Defendants’ breach of joint
venture agreement in an amount according to proof, but not less than $2,000,000.00.

FIFTH CAUSE oF ACT'IoN
' BREACH OF IMPLIED' JOlNT VENTURE
(Against Nth Degree)

55. ' 4 Plaintiff re-alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein.'

56. Plaintiff re-alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein

57 Plaintiff is informed and believes and based thereon alleges that on or

about December 4, 2008, the Nth Degree Defendants began to engage in a series of

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acts and conduct that implied it had entered into a joint venture with KCP to produce
a Joint Proposal_in order to secure the contract to jointly manage the 2010 RSA _
Conference and to split any profits derived therefrom. lKCP and Nth Degree each
had ownership rights in the implied joint venture and the right to participate in its
management 7 n
, 58. Plaintiff is informed and believes and based thereon alleges that KCP
and Nth Degree participated in the management of the implied joint venture by
paying a portion of the implied joint venture’s expenses, assigning duties to joint
venture personnel, providing time, skill and expertise and monitoring the joint
venture’s performance 7
59. Plaintiff performed all conditions, covenants, and promises required on
its part to be performed in accordance with the terms of the Agreement, except for
those conditions, covenants, and promises which were excused by the Defendants
and/or conditions, covenants, and promises which Plaintiffs were prevented nom
performing by the acts or omissions to act on the part of the Defendants l
7 60. On or about lurie 26, 2008, the Nth Degree Defendants, and each of
them, breached and repudiated the implied joint venture by entering into a contract
with RSA to manage the 2010_Conference without KCP’s participation by
disavowing the existence of the joint venture; by terminating, or attempting to
terminate, without cause, KCP’s rights under the joint venture, by misappropriating
KC'P’s intellectual property, its ideas and its creative talent, and by failing to account
to KCP ford profits due
61. KCP has been damaged by the Nth Degree Defendants’ breach of j oint
venture agreement in an amount according to proof, but not less than $2,000,000.00.
stTH CAUSE orr ACTION
PRoMrssoRY EsToPPEL
(Against Nth Degree)7
62. Plaintiffre-alleges and incorporates by reference each and every

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` coMPLAINT

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allegation in the previous paragraphs as though fully set forth herein

63_. On _or about December 4, 2008, Nth Degree promised KCP in“clearand
unambiguous terms,` that it would share in the profits derived nom the management
of the 2010 RSA Conference in exchange for KCP_’ s assistance and expertise in
producing the Joint Proposal.

64. KCP, in actual and reasonable reliance on the Nth Degree’ s promises,
were induced to invest time, expense and expertise in producing the Joint Proposal

_ 65 . KCP’s reliance on Nth Degree’ s promise was reasonable and

foreseeable _

66. Nth Degree intended its promise to induce such reasonable and
foreseeable reliance in

67. 7 On or about June 26, 2008, the Nth Degree Defendants, and each of
them, breached-and repudiated the Agreement, partnership and joint venture by
entering into a contract with RSA to manage the 2010 Conference without KCP’s
participation, by disavowing the existence of the Agreement, partnership and joint
venture, by terminating, or attempting to terminate, without cause, KCP’s rights
under the Agreement, partnership and joint venture , by misappropriating KCP’s
intellectual property, its ideas and its creative talent, and by failing to account to
KCP for profits 'due. ' 7

68. KCP detrimentally relied upon Nth Degree’ s promises, and has been
damaged thereby m an amount according to proof, but not less than $2, 000, 000. 00

69. Injustice ca11 only be avoided by enforcement of the Defendants’_
promise

sEvEN`rH cAusE oF ACT_roN
l `BREACH oF FIDUCIARY DUTY
7 (Against Nth Degree)
70. Plaintiff re-alleges and incorporates by reference each and every

allegation in the previous paragraphs as though fully set forth herein

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COMPLAIN_'I`

 

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71.; The formation of a partnership or joint venture between KCP and the
Nth Degree Defendants imposed upon the Nth Degree Defendants the highest duty
of good faith, loyalty, truth candor and fidelity to KCP.

72. - Plaintiff ls informed and believes and based thereon alleges that on or
about June 26, 7,2008 the Nth Degree Defendants, and each of them, breached the
fiduciary duties they owed to KCP by entering into a contract with RSA to manage
the 2010 Conference without KCP’ s participation, by disavowing the existence of
the partnership, joint venture and Agreement, by terminating, or attempting to
terminate, without cause, KCP’s rights under the partnership, joint venture and
Agreement; by misappropriating KCP’s intellectual property, its ideas and its
creative talent, and by failing to account to KCP for profits due '

73. KCP has been damaged by the Nth Degree Defendants’ breach of
fiduciary duty in an amount according to proof, but not less than $2,000,000.00.

EIGHTH C_AUSE orr ACTION `
BREACH OF THE COVENANT OF_ GOOD FAITH AND FAIR DEALING

7 (Against Nth Degree) 7

l 74. l Plaintiff re alleges and incorporates by reference each and every '
allegation in the previous paragraphs as though fully set forth herein 7

75. 1 r1`he Agreement contained an implied covenant of good faith and fair
dealing prohibiting the parties from actions or omissions that would deprive the
other party of any of itsrights under the terms of the Agreement

76. On or about June 26, 2008, the Nth Degree Defendants,` and each of
them, breached the implied covenant of good faith and fair dealing by entering into a
contract with RSA to manage the 2010 Conference without KCP s participation, by
disavowing the existence of the Agreement; by terminating, or attempting to
terminate, without cause-, KCP’s rights under the Agreement, by misappropriating
KCP’s intellectual property, its ideas and its creative talent, and by failing to account

to KCP for profits due '

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' compensate them as agreed. Likewise, by contracting with RSA to the exclusion of

 

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77. KCP has been damaged by the Nth Degree Defendants’ breach of the
covenant of good faith and fair dealing 111 an amount according to proof, but not less 7
than $2, 000, 000 00.

NINTH CAUS_E OF ACTION
UNJUST ENRICHMENT '
(Against Nth Degree)

78. Plaintiff re-alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein

79. In exchange for the development __of the Joint-Proposal, which Nth
Degree had insufficient experience and creativity to produce on its own, the Nth
Degree Defendants agreed to ensure_that Plaintiff would share in the profits derived
from the management of the 2010 Conference. lnstead, Plaintiff is informed and
believe, Nth Degree denied Plaintiffs’ rights and entered intoan agreement with
RSA to manage the 2010 Conference to the exclusion of KCP, costing KCP
significant profits. 7
` 80. Plaintiffs performed all conditions required of it under the Agreement,
and satisfied all of their obligations under the Agreement except for those
conditions, covenants, and promises which were excused by the Defendants and/or
conditions, covenants, and promises which Plaintiffs were prevented from
performing by the acts or omissions to act on the part of the Defendants

81. As a result of their actions stated above, the RSA Defendants were
unjustly enriched at the expense of KCP.- KCP has not received the reasonable value
of its services, or the amounts to which it is entitled under the Agreement KCP, by
performing all conditions under the Agreement the partnership and/or the joint

venture, suffered a loss because of the Nth Degree Defendants’ failure to

KCP, with full knowledge of, and disregard for, KCP’s rights rn the Agreement,

partnership and joint venture as a result of the fruits of Plaintiffs’ labor, experience,

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expertise and business relationships, the RSA Defendants have been and will
continue to be unjustly enriched from the management of the 2010 RSA Conference
because KCP was not paid its share of the profits . 7

82`. ` As a furtherdirect and proximate result of the RSA De_fendants’ breach '
of the Agreement, and the conscious interference with KCP’s rights under the
Agreement, the partnership and the joint venture, KCP has suffered significant
damages and out of pocket expenses all 1171 a sum to be determined according to
proof at trial, but not less than $2,000,000.00.

' TENTH CAUsE oF AcTroN
UNFAlR BUSINESS PRACTICES ..
f (Against Nth Degree)

83. Plaintiffre-alleges and incorporates by reference each and every
allegation in the previous paragraphs as though fully set forth herein 7

84. On information and belief`, KCP alleges that Nth Degre.es competitors,
as well as members of the general public, have been, are currently being,` and will
continue to be victimized by naudulent, deceptive, unlawful and/or illegal business
acts and practices by Nth Degree '

85. KCP brings this action pursuant to Calz`fornia Busine_ss & Professions

VCode §§ 17200, 17535 and Code 70fC1`vilProced1,1re §§ 1021 and 1021.5 as a private
attorney general, on behalf of, and for the benefit of, the general public. '

86. Nth De.gree, _by committing the acts alleged herein, has engaged in
unlawful, unfair and deceptive business acts and/or practices that constitute unfair
competition and practices within the meaning of Calz:`fornia Busz`ness & Professr`ons
Code §§ 17200, et seq.

8.7. Nth Degree acted unlawfully by the acts and omissions complained of
herein, and such unlawful acts and/or omissions may be redressed and KCP has been
personally affected and damaged, and even though there rs no private right of action

88. Nth Degrees has engaged in a pattern and practice of unfairly

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f"n VlPT.A`ll\TT

 

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` competing With KCP and other competitor?s business operations by interfering with

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existing and prospective economic relationships, by misappropriating KCP’s l
creativity and ideas, by conversion of KCP’s intellectual property and by palming '
off of KCP’s ideas and the physical expression of said ideas'as their owni

89. A business practice that violates any law constitutes an unlawful
business practice within the meaning of Business & Professions Code §§17200, et
seq. n 4 ` , 1
90. Unless restrained by this Court, Nth Degree will continue to engage in
violation of law in its business practices as alleged herein..

91. Nth Degree acted unfairly m that the acts and practices complained of
have caused injury to his competitors and/or to the consuming public by violating
the policy and spirit of the law and have significantly harmed competition

92. There is consumer injury that is substantial, and not merely trivial'or_
speculative, in that the injury constitutes monetary harm. 7

93. The acts and practices complained on are not outweighed by any
countervailing benefits to either'consumers or to competition 7

94. The consumer injuries complained of are injuries that the consumers
could not have reasonable avoided ' y _ `

95. Nth Degree has made statements and/or communications in the course
of its business acts and practices which are likely to deceive members of the general
public, including those members to whom the statements and/or communications_are
targeted

96. This action Will result in the enforcement of important rights affecting
the public interest and significant benefits Will_ be conferred on the general publici or
to a large class ofpersons. _ _ 7

PRAYER FoR RELIEF

WHEREFORE, Plaintiff Kahn Creative-Partners, Inc. prays for judgment

against Defendants 'Nth Degree, Inc. aka Beyond the Nth Degree, lnc. and Does l

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Case 2:10-c\/-00932-.]LS-FFI\/| Document 1 Filed 02/08/_10 Page 17 of 21 Page |D #:17

through 10, inclusive as follows:

For injunctive relief; _ _ 7
For general damages accordingto proof ay trial;
For special damages according to proof ay trial;

For exemplary damages in an amount sufficient to punish the

Defendants and to deter similar wrongful conduct in the future;

5.
6.
7.

F or disgorgement; »
For restitution;

For interest at the maximum rate allowed by law from the date of

Defendants breach;

8. F or an accounting;
9. ' For the imposition of a constructive trust;_
10. For'attorneys’ fees; w
_ 1 1. For costsi
12. Fo'r such other relief as the court deems just and proper.
Dared: F@bruary s, 2010 ' THE ALTMAN LAW GROUP'

By:

 

Brfyan .Aittnan
Attorn ys for Plaintiff Kahn Creative
Partners, Inc.

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Case 2:1O-cV-00932-.]LS-FFI\/| Document 1 Filed 02/08/10 Page 18 of 21 Page |D #:18

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGIS'I`RATE JU])GE F()R DISCOVERY

This case has been assigned to District Judge Dale S. Fischer and the assigned discovery
Magistrate Judge is Frederick F. Mumm.

The case number on all documents filed With the Court should read as follows:

cvio- 932 psr (Frnx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate .ludge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COU NSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ali piaintiffs).

Subsequent documents must be filed at the following |ocation:

[X] Western Division Southem Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riversid_e, CA 92501

Fai|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03)'06) NOTlCE OF ASSIGNNIENT TO UN|TED STATES MAG|STRATE JUDGE FOR DISCOVERY

ease 2:10-@\/-00932-1113-|=1§1\/| Documen11 Fileq 02/03/10 ridge 19 of 21 'Page lD #:19

Name & Address:

THE ALTMAN LAW GROUP 7

BRYAN C. ALTMAN (State Bar No. 122976)
JAVSON L. WEISBERG (State Bar No. 150436)
8484 wilshire alva suite 510

Beverly H_ills, California 90211

UNI'I`ED _STATES DIS'I'RICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KAHN CREATIVE PARTNERS, INC., an mines CASE NUMBER
corporation

 

PLAiNTrFF(s) _ ' _
v. . §§ `

NTH DEGREE, INC. aka BEYOND THE NTH
DEGREE, lNC., a Delaware corporation; and DOES l _
through 10, inclusive

1 ita §§ § § :@§;"D$ffl:flll§l

 

SUMMONS

DEFENDANr(s).

 

TO; DEFENDANT(S); NTH DEGREE, INC. aka BEYOND' THE NTH DEGREE, INC., a Delaware
corporation; and DOES l through 10, inclusive '

A lawsuit has been filed against you.

Within 2_1 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached Efcomplaint |:| amended complaint
l:l counterclaim l:| cross- c-lairn or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, Bryan C. A]tman , whose address is
rl`he Altman Law G_roup, 8484 Wilshire Blvd. Ste. 510, Beverly Hills, CA 90211 Ifyou fail to do 505

judgment by default will be entered against you for the relief demanded m the complaint You also must file
your answer or motion with the court.

Cierk, U.s. Dis`arcr'o`énrm

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[Use 60 days ifthe defendant is the Unr`ted Stafe.s‘ or a United Sfates agencyl or is an ojicer' or employee of the United Stafes. A]lowed
60 days by Rule 12(11)(3)]. - 7

 

CV-01A (l 2107) SUMMONS

Case 2:1O-cV-00932-.]LS-FFI\/| Document 1 Filed 02/08/10 Page 20 of 21 Page |D #:20

UNITED STATES DI_STRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself |:l)
I<AHN CREA'I`IVE PARTNERS, INC., an lllirlois corporation

DEFENDANTS
NTH DEGREE, INC. aka BEYOND THE NTH DEGREE, INC., a Delaware

corporation; and DOES 1 through 10, inclusive

 

(b) Attomeys (Flrm Name, Address and 'I`elephone Number. If you are representing Attorneys (If Known)

yourself`, provide salne.)

THE ALTMAN LAW GROUP
BRYAN C_ ALTMAN (Sta`te Bar No. 122976)

8454 Wilshire Blvd., S£e. 510, Beverly Hills, CA 90211; 323-653-5581

 

 

 

[I. -BASIS OF JURISDICTION (Place an X in one box only.)

l:l l U.S. Government Plaintiff {] 3 Federal Questlon {U.S.
Govemment Not a Party}

|:l 2 U.S. Government Defendant M4 Diversity (lndicate Citizenship
of Parties in Item III)

 

II[. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cuses Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF PTF DEF
Citizen of'l`his State El l l:| l Incorporated or Principal Place lII 4 |:l 4
of`Business in this State
Citizen of`Anotl'ler State 111 2 l:l 2 lncorporabed and Princlpal Place 11(5 155

ofBusiness in Anotller State

Citizen sir Subject of a Foreign Country l:| 3 |I 3 Fol'eign Nation ill 6 El 6

 

IV. ORlGlN (l’lace an X in one box only.)

E{l Original |Il 2 Removed from ij 3 Rernanded from EI 4 Relnstated or l“_`| 5 ’l`ransl`erved from another district (specii`y): II| 6 Multi~ El 7 Appcal 10 District
Proceeding State Court Appcllate Court Reopened District Judge from

litigation Magistrate .Tudge

 

v. RnQuESTED rN coMPLArN'r; JURY DF.MANnr n(Yes l:i Ne (clreel< ‘Yes’ only ir amended iri eempleinr.)`

CLASS ACTlON under F.R.C.P. 231 |:l Yes [!{No

ij MONEY DEN[ANDED IN COMI’LAINT: $

 

VI. CAUSE OF AC'I‘ION {Cite tile U.S. Civil Statute under which you are filing and write a brief statement ol` cause Do not cite jurisdictional statutes unless diversity.)

 

VII. NATURE OF SUIT (Place an X in one box only.)

 

 
    

     

 

   
 

       

 

       

   

 
 
  
   
  
 

  
     

    

 

 

 

 

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ij 430 Banks and Banking |] 130 Milier Act 13 315 Airplan‘-’- Pl'°duct l:l 370 Other Fraud Vacale Sentence [] 720 LaborfMgmt,

|:l 450 Commerce!lCC |3 140 Negotiable Instrument Llability 111 371 Truth in Lendirlg Habeas Corpus Relations
Rates/etc. |:} 150 Recovery of m 320 A-"Sa“lt']-"'bel & ij 380 Other l"’ersonal l:i 530 Genera§ |:i 730 Labor/Mgmt.

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|:l 470 Racketeer Influenced Enf`orcement of m 330 F'_:d' _E:mpl°yers |:| 385 Property Darnag¢ lI| 540 Mandamus/ Disc|osure Act
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ij 490 CablelSat TV Student Loan (Exci. m 350 Momr Veh__-c]e 153 |:l 791 Empl. Ret. lnc

C| 810 Selective Service Veterans)r. 5355 Motor vehicle Cl423 Withdrawal 28 _ Secu_rit_y Act

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USC 3410 |2|160 Stockholders’ Suits g 362 personal Injury_ L`.l 442 Emp]oyment IIl 625 Drug Relatecl |_:13__40 ademarl_c _ _ _

ij 890 Other S_tatutory Actions Di(]90 Other Contract M¢d Malpracti¢e 13 443 Housing/Acco» Seizure of _, . '

El 891 Agricullural Act 11 195 Contract Product ij 365 Persona] [njm-y_ mmodations Properly 21 USC (139511`)

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|I] 893 Environmentai Matters ` Injury Product Disabilities - |;] 640 R.R_ & Truck (405(g})

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FOR OFFICE USE ONLY: Case Number:

 

 

AFI`ER COMPLETING THE FRONT SIDE OF FORM CV-‘i"l, COMPLETE THE INFORMAT[ON REQUESTED BELOW.

 

cv-rl (05/00)

CIVIL COVER SI~IEET Page l of 2

Case 2:10--cv--00932 JLS- FFM Document 1 Filed 02/08/10 Page 21 ot 21 Page lD #: 21
UNran) sTATF,`s orsTRrCT coURT, CENTRAL I)ISTRICT or anIFoRNIA
ClVIL COVER SHEET

VIII(a]. IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? E(No |Il Yes
if yes, list case number(s):

 

VIH(h). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? l!(No [l Yes
If`yes, list case number(s):

Civil cases are deemed related ila previously filed case and the present case:
(Check all boxes that apply)` ll A Arise from the same or closely related transactions, bappenings, or events; or
|:l B. Call for determination of` the same or substantially related or similar questions of` law and fact; or
l.`J C. For other reasons would entail substantial duplication of` labor if heard by d1fi`erent judges, or
|I] D. Involve the same patent, trademark or copyright, a_qd_ one of the factors identified above in a, b or c aiso is present.

 

IX. VENUE: (When completing the following inforrnation, use an additional sheet if necessary.)

(a) l_.ist the County in this District; Calif`omia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides
il Check here if` the govemment, its agencies or employees is a named plaintif`f. If` this box is checked go to item (b).

 

Counly in this District:* Calif`ornia County outside of this District; State, if` other than Calif`omis', or Foreign Country

 

Illinois

 

(b) I_.ist the County in this District; Califomia County outside of` this Dislrict; State if other than Calif`ornia; or Foreign Country, in which EACH named defendant resides.
EI Check here if the govemment, its agencies or employees is a named defendant If this box is clieclced, go to item (c}.

 

Couniy in this District:* Celif`omia County outside of this District; State; if other than Calif`ornia', or Foreign Counn'y

 

Georgia

 

 

 

 

(c) List the Coun`ty in this District; California County outside of' this Dism'et; State if other than Califomin; or Foreign Country, in which EACH claim arose.
Note: In land condemnation eases, use the location of the tract of land involved.

 

Counly in this District:"‘ ` ~ Califomia County outside of this District; State, if other than California; or Foreign Counuy
Los Angeles

 

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases use the location of the tr tof' land involved

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Notice to CounsellParties: The CV-i'l (JS-44) Civil Co Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This fonn, approved by the Judicial Conference of` the United States m September1974 is required pursuant to Local Ruie 3-1'1s not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions see separate instructions sheet_)

 

Key to Statistical codes relating to Socia.l Securily Cases:

Nature ol'Suit Codc d Al)breviation Suhstantive Statement of Cnuse of Action

861 HlA All claims for health insurance benefits (Medicare) under 'I`itle 18, Part A, of the Social Secority Act, as amended
Also, include claims by bospitals, skilled nursing facilities, etc., f'or certification as providers of services under the
program (42 U.S.C. l935FF(b))

862 - BL All claims for “Bleck Lung” benefits under 'I`itle 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.

(30 U.S.C. 923)
' 863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Security Act, as

amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(§])

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe Social Security
Act, as amended (42 U.S.C. 405(g)}

864 SSlD All ciaims for supplemental security income payments based upon disability filed under Tit]e 16 oi` the Socis| Seeurity
Aet, as amended.

365 t . RSl All claims for retirement (old age) and survivors benefits under Title 2 of`the Social Securiry Act, as amended (42
U S C (E))

 

CV-'Fl (051'08) CIVIL COVER SI{EE'I Page 2 01`2

